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cHAD ovERLY, )
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Plaintiff, 07CV1265

v. JUDGE DER-YEGH|AYAN
CITY oF cHICAGo and JEROME MAG.JUDGE NOLAN

FINNEGAN,
) JURY TRIAL DEMANDED

Defendants. )

COMPLAINT

NOW COMES Plaintiff, CHAD OVERLY, by and through his
attorneys, LOBVY & LOEVY, and complaining of Defendants, CITY OF
CHICAGO and JEROME FINNEGAN, states as follows:

Introduction

1. This action is brought under 42 U.S.C. § 1983 to
redress the deprivation under color of law of Plaintiff's rights
as secured by the United States Constitution.

Jurisdiction and Venue

2. This Court has jurisdiction of the action under
28 U.S.C. §§ 1331 and 1361.

3. Venue is proper as Defendant City of Chicago is a
municipal corporation located here and the events giving rise to
the claims asserted herein all occurred within this district.

Background
4. Plaintiff, Chad Overly, lives with his wife and

their two children in Bloomington, Illinois.

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5. With the exception of the events described below,
Mr. Overly has been employed as a truck driver with Brandt Truck
Line for approximately the last five years. Mr. Overly's job
takes him to and from Chicago on a regular basis.

6. On or about the November 2, 2005, Mr. Overly was
driving his truck on Chicago's Adlai Stevenson Expressway when he
was cut-off by a car driven by Defendant Finnegan. After cutting
him off, Defendant Finnegan forced Mr. Overly to pull his truck
off to the side of the road.

7. Once both vehicles were pulled over, Defendant
Finnegan approached Mr. Overly, who had stepped down from his
truck, and began to attack him. When Mr. Overly attempted to
defend himself, Defendant Finnegan displayed his duty weapon to
Mr. Overly and informed him that he was a police officer.

8. Mr. Overly immediately stepped away and used his
cell phone to call 911. At this time Defendant Finnegan attacked
Mr. Overly, pulling him to the ground and forcing him to hang up
the phone“ Mr. Overly placed a second phone call to 911 before
Defendant Finnegan once again forced him to hang up.

9. Defendant Finnegan then held Mr. Overly down while
he contacted the Chicago Police Department. During this call,
Defendant Finnegan identified himself as a Chicago Police Officer
and requested assistance. Throughout this, Defendant Finnegan

restrained Mr. Overly, who was not permitted to get up.

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10. Thereafter, Chicago Police Officers and an
lllinois State Police Trocper arrived at the scene. Based upon
Defendant Finnegan's false statements, Mr. Overly was placed
under arrest and taken to an Illinois State Police station.

11. During the incident, Defendant Finnegan took
possession of Mr. Overly's cell phone, which was never returned.

12. Mr. Overly was eventually charged with battery and
reckless conduct. These charges were filed by Defendant Finnegan
in his capacity as a police officer.

13. ln the following months, Mr. Overly was forced to
travel to Chicago to attend multiple court hearings on the
charges against himJ In January of 2006, after Defendant
Finnegan had repeatedly failed to come to court, the charges were
dismissed in a manner indicative of Mr. Overly’s innocence.

14. As a result of the false charges, Mr. Overly
was fired from his job and was able to return to work only after
the charges against him were dismissed.

15. At all times during his interactions with
Plaintiff, Defendant Finnegan was acting under color of law and
within the scope of his employment as a Chicago Police Officer.

City of Chicago's Failure
to Train, Discipline and Control

16. Municipal policy-makers have long been aware of
the City of Chicago's policy and practice of failing to properly

train, monitor and discipline its police officers:

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a. Following two high profile, unjustified
police shootings in 1999, the City Council held public hearings.
On September 28, 1999, then~Superintendent of the Chicago Police
Department Terry Hillard gave a speech highlighting the problems
with the City of Chicago’s policies and practices relating to the
use of force. Superintendent Hillard specifically noted the need
for (1) better in-service training on the use of force; (2) early
detection of potential problem officers; and (3) officer
accountability for the use of force.

b. ln a review commissioned by the
Superintendent, Chicago’s John Marshall Law School found that
although the City of Chicago's policies on the use of force were
in compliance with the law, more training of police officers was
necessary.

c. Moreover, in January 2000, the Chairman of
the Committee on Police and Fire of the Chicago City Council
submitted an official resolution recognizing that “{Chicago]
police officers who do not carry out their responsibilities in a
professional manner have ample reason to believe that they will
not be held accountabler even in instances of egregious
misconduct.”

d. A study performed a year later by the Justice
Coalition of Greater Chicago (“JCGC”), a coalition of more than a
hundred community groups, confirmed that resolution.
Specifically, the JCGC study concluded that the Chicago Police

Department lacked many of the basic tools necessary to identify,

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monitor, punish and prevent police misconduct and brutality. The
JCGC findings were presented to Mayor Daley, Superintendent
Hillard and the Chicago Police Board.

e. Two years later, Garcia v. City of Chicago,
01 C 8954, 2003 WL 22115618 (N.D. Ill. Sept. 19r 2003) affirmed
that the City’s police misconduct investigations were
systematically “incomplete, inconsistent, delayed, and slanted in
favor of the officers” and as a result, fostered a culture within
the Chicago Police Department where officers felt they could
commit misconduct like that described above with impunity.

f. Indeed, by its own accounting, in 2004, the
latest date for which the City of Chicago has provided public
statistics, the City sustained only four percent of the
complaints brought against police officers for use of excessive
force. An even smaller percentage of officers were actually
disciplined for such conduct.

17. Although the City of Chicago has long been aware
that its supervision, training and discipline of police officers
is entirely inadequate, it has not enacted any measures to
address that failure.

18. ln 1996, the City of Chicago intentionally
abandoned a program designed to track police officers repeatedly
acting in an abusive manner because of opposition by the Police
Union. The City promptly deleted all data contained in the

program, including the list of problem officers.

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19. ln 2000 and 2001, the City continued to refuse to
implement a system allowing for the detection of repeat police
officer-offenders, despite the fact that the Commission on
Accreditation for Law Enforcement Agencies adopted a standard
mandating such a detection system for large agencies such as
Chicago.

20. ln 2003, although the City of Chicago and the
Police Union negotiated a new contract allowing the Chicago
Police Department to use unsustained Office of Professional
Standards (“OPS”) cases “to identify patterns of suspected
misconduct about which the public and regulatory agencies are so
intensely and legitimately concerned,” no such pattern analysis
has ever been implemented. lndeed, pursuant to that contract,
OPS records are only kept for seven years, precluding any
meaningful long-term analysis of an officer's misconduct.

21. Finally, Chicago's training of its officers has
not changed since 1999, despite repeated promises by the City and
City policymakers for a more comprehensive training program.

Count I -- 42 U.S.C. § 1983
Excessive Force

22. Each of the Paragraphs in this Complaint is
incorporated as if restated fully herein.

23. As described in the preceding paragraphs, the
conduct of Defendant Finnegan toward Plaintiff constituted

excessive force in violation of the United States Constitution.

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24. The misconduct described in this Count was
objectively unreasonable and was undertaken intentionally with
willful indifference to Plaintiff’s constitutional rights.

25. The misconduct described in this Count was
undertaken with malice, willfulness, and reckless indifference to
the rights of others.

26. The misconduct described in this Count was
undertaken pursuant to the policy and practice of the Chicago
Police Department in that:

a. As a matter of both policy and practice, the
Chicago Police Department directly encourages, and is thereby the
moving force behind, the very type of misconduct at issue here by
failing to adequately train, supervise and control its officers,
such that its failure to do so manifests deliberate indifference;

b. As a matter of both policy and practice, the
Chicago Police Department facilitates the very type of misconduct
at issue here by failing to adequately punish and discipline
prior instances of similar misconduct, thereby leading Chicago
Police Officers to believe their actions will never be
scrutinized and, in that way, directly encouraging future abuses
such as those affecting Plaintiff; specifically, Chicago Police
Officers accused of excessive force can be confident that OPS
will not investigate those accusations in earnest and will refuse

to recommend discipline even where the Officer has engaged in

excessive force;

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c. Generally, as a matter of widespread practice
so prevalent as to comprise municipal policy, officers of the
Chicago Police Department abuse citizens in a manner similar to
that alleged by Plaintiff in this Count on a frequent basis, yet
the Chicago Police Department makes findings of wrongdoing in a
disproportionately small number of cases;

d. Municipal policy-makers are aware of, and
condone and facilitate by their inaction, a "code of silence" in
the Chicago Police Department, by which officers fail to report
misconduct committed by other officers, such as the misconduct at
issue in this case; and

e. The City of Chicago has failed to act to
remedy the patterns of abuse describe in the preceding sub-
paragraphs, despite actual knowledge of the same, thereby causing
the types of injuries alleged here.

27. As a result of the unjustified and excessive use
of force by Defendant Finnegan, as well as the City's policy and
practice, Plaintiff has suffered pain and injury, as well as
emotional distress.

28. The misconduct described in this Count was
undertaken by Defendant Finnegan within the scope of his
employment and under color of law such that his employer, City of

Chicago, is liable for his actions.

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Count II -- 42 U.S.C. § 1983
False Arrest/Unlawful Detention

29. Each of the Paragraphs in this Complaint is
incorporated as if restated fully herein.

30. As described more fully above, Defendant
Finnegan falsely arrested and unlawfully detained Plaintiff
without justification and without probable cause.

31. The misconduct described in this Count was
objectively unreasonable and was undertaken intentionally with
malice, willfulness, and reckless indifference to the rights of
others.

32. The misconduct described in this Count was
undertaken pursuant to the policy and practice of the Chicago
Police Department in the manner described in preceding
paragraphs.

33. As a result of the above-described wrongful
infringement of Plaintiff’s rights, Plaintiff suffered pain and
injury, as well as emotional distress.

34. The misconduct described in this Count was
undertaken by Defendant Finnegan within the scope of his
employment and under color of law such that his employer, City of
Chicago, is liable for his actions.

COUNT III -- State Law Claim
Malicious Prosecution

35. Each of the Paragraphs in this Complaint is

incorporated as if restated fully herein.

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36. ln the manner described more fully above,
Plaintiff was improperly subjected to judicial proceedings for
which there was no probable cause. These judicial proceedings
were instituted and continued maliciously, resulting in injury,
and all such proceedings were terminated in Plaintiff’s favor in
a manner indicative of his innocence.

37. Specifically, Defendant Finnegan accused
Plaintiff of criminal activity knowing those accusations to be
without probable cause and made statements to prosecutors with
the intent of exerting influence to institute and continue
judicial proceedings.

38. Defendant Finnegan’s statements to the prosecutors
were made with knowledge that they were false and perjured. ln
so doing, Defendant Finnegan fabricated evidence and withheld
exculpatory information.

39. The misconduct described in this Count was
undertaken with malice, willfulness, and reckless indifference to
the rights of others.

40. As a proximate result of this misconduct,
Plaintiff suffered injuries, including but not limited to
emotional distress.

Count IV -- State Law Claim
Assault and Battery

41. Each of the foregoing Paragraphs is incorporated

as if restated fully herein.

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42. As described more fully in the preceding
paragraphs, the actions of Defendant Finnegan created a
reasonable apprehension of imminent harm and constituted
offensive physical contact with Plaintiff.

43. The misconduct described in this Count was
objectively unreasonable and was undertaken intentionally with
malice, willfulness and reckless indifference to the rights of
others.

44. As a proximate result of this misconduct,
Plaintiff suffered injuries, including but not limited to
emotional distress.

COUNT`V -- State Law Claim
False Imprisonment

45. Each of the foregoing Paragraphs is incorporated
as if restated fully herein.

46. Plaintiff was seized, arrested, and detained by
Defendant Finnegan, despite his knowledge that there was no
probable cause for doing so.

41. As described in the preceding paragraphs,
Defendant Finnegan unlawfully restrained Plaintiff’s freedom of
movement about by imprisoning him. In this manner, Plaintiff’s
freedom of movement was unduly and unlawfully restricted.

48. The actions of Defendant Finnegan set forth
above were undertaken intentionally, with malice and reckless

indifference to Plaintiff’s rights.

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49. As a proximate result of this misconduct,
Plaintiff suffered injuries, including but not limited to

emotional distress.

COUNT VI -- State Law Claim
Conversion

50. Each of the Paragraphs in this Complaint is
incorporated as if restated fully herein.

51. As described more fully in the preceding
paragraphs, Defendant Finnegan stole Plaintiff’s cell phone,
which was never recovered.

52. Plaintiff has an absolute and unconditional right
to this property, which Defendant Finnegan wrongfully and without
authorization assumed control, dominion, or ownership of.

53. Plaintiff's demands for return of this property
went unheeded.

54. The misconduct described in this Count was
undertaken with malice, willfulness, and reckless indifference to

the rights of others.

55. The misconduct described in this Count was
undertaken by Defendant Finnegan within the scope of his
employment such that his employer, City of Chicago, is liable for

his actions.

Count VII -- State Law Claim
Respondeat Superior

56. Each of the Paragraphs in this Complaint is

incorporated as if restated fully herein.

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57. ln committing the acts alleged in the preceding
paragraphs, Defendant Finnegan was a member and agent of the
Chicago Police Department, acting at all relevant times within
the scope of his employment.

58. Defendant City of Chicago is liable as principal
for all torts committed by its agents.

Count VIII -- State Law Claim
Indemni£ication

59. Each of the Paragraphs in this Complaint is
incorporated as if restated fully herein.

60. illinois law provides that public entities must
pay any tort judgment for compensatory damages for which employees
are liable within the scope of their employment activities.

61. Defendant Finnegan is or was an employee of
the Chicago Police Department, who acted within the scope of his
employment in committing the misconduct described herein.

WHEREFORE, Plaintiff, CHAD OVERLY, respectfully
requests that this Court enter judgment in his favor and against
the ClTY OF CHICAGO and JEROME FINNEGAN, awarding compensatory
damages and attorneys’ fees, along with punitive damages against
JEROME FINNEGAN, as well as any other relief this Court deems

just and appropriate.
JURY DEMAND
Plaintiff, CHAD OVERLY, hereby demands a trial by

jury pursuant to Federal Rule of Civil Procedure 38(b) on all

issues so triable.

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RESPECTFULLY SUBMITTED,

AtVrneyY/f(j P ai tiff

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